AO 72A
(Rev.8/82)

 

 

Case 3:04-cV-00150-GD Document 15 Filed 01/10/06 Page 1 of 9

IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF PENNSYLVANIA

BEVERLY WEATHERWALK,
Plaintiff,

v. Civil Action No. 04-150J

JO ANNE B. BARNHART,

COMMISSIONER OF
SOCIAL SECURITY,

Defendant.

MEMORANDUM JUDGMENT ORDER

AND NOW, this § day of January, 2006, upon due
consideration of the partiesl cross-motions for summary judgment
pursuant to plaintiff's request for review of the decision of the
Commissioner of Social Security (“Commissioner”) denying
plaintiff's applications for widow's insurance benefits and
supplemental security' income under Titles II and XVI,
respectively, of the Social Security Act (“Act”), IT IS ORDERED
that the Commissioner's motion for summary judgment (Document No.
12) be, and the same hereby is, granted and plaintiff's motion for
summary judgment (Document No. lO) be, and the same hereby is,
denied.

As the factfinder, an Administrative Law Judge ("ALJ") has an
obligation to weigh all of the facts and evidence of record and
may reject or discount any evidence if the ALJ explains the

reasons for doing so. Plummer v. Apfel, 186 F.3d 422, 429 (3d

 

Ao 72A
(Rev.a/ez)

 

 

 

Case 3:04-cV-0015O-GD Document 15 Filed 01/10/06 Page 2 of 9

Cir. 1999). Importantly, where the ALJ's findings of fact are
supported by substantial evidence, a reviewing court is bound by
those findings, even if it would have decided the factual inquiry
differently. Farqnoli v. Massanari, 247 F.3d 34, 38 (3d Cir.
2001). These well-established principles preclude a reversal or
remand of the ALJ's decision here because the record contains
substantial evidence to support the ALJ‘s findings and
conclusions.

Plaintiff protectively filed her pending applications for
widow's insurance benefits and supplemental security income on
November 8, 2002, alleging a disability onset date of December 21,
2000, due to diabetes and arthritis in her hands, legs and neck.
Plaintiff's applications were denied initially. At plaintiff's
request an ALJ held a hearing on September 5, 2003, at which
plaintiff, represented by counsel, appeared and testified. On
October 9, 2003, the ALJ issued a decision finding that plaintiff
is not disabled. On May 27, 2004, the Appeals Council denied
review making the ALJ's decision the final decision of the
Commissioner.

Plaintiff was 53 years old at the time of the ALJ's decision
and is classified as a person closely approaching advanced age
under the regulations. 20 C.F.R. §§404.1563(d) and 416.963(d).
Plaintiff has a high school equivalency diploma but has no past
relevant work experience. For purposes of plaintiff's application
for Title II widow's benefits, plaintiff's eligibility period

expired on January 9, 2004, seven years after the death of her

 

AO 72A
(Rev.8/82)

 

 

Case 3:04-cV-0015O-GD Document 15 Filed 01/10/06 Page 3 of 9

husband, the wage earner.

After reviewing plaintiff's medical records and hearing
testimony from plaintiff and a vocational expert, the ALJ
concluded that plaintiff is not disabled within the meaning of the
Act. The ALJ found that although the medical evidence establishes
that plaintiff suffers from the severe impairments of degenerative
disc disease of the cervical spine, Type II diabetes mellitus and
depression, those impairments, alone or in combination, do not
meet or equal the criteria of any of the impairments listed at
Appendix l of 20 C.F.R., Part 494, Subpart P.

The ALJ also found that plaintiff retains the residual
functional capacity to perform a significant range of light work
but with certain restrictions recognizing the limiting effects of
her impairments. Taking into account these limiting effects, a
vocational expert identified numerous categories of jobs which
plaintiff could perform based upon her age, education, work
experience and residual functional capacity. Relying on the
vocational expert's testimony, the ALJ found that plaintiff is
capable of making an adjustment to numerous jobs existing in
significant numbers in the national economy, including food
preparation worker, office cleaner, kitchen helper and
printer/packer. Accordingly, the ALJ determined that plaintiff is
not disabled within the meaning of the Act.

The Act defines "disability" as the inability to engage in
substantial gainful activity by reason of a physical or mental

impairment which can be expected to last for a continuous period

 

Ao 72A
(nev.a/a2)

 

 

 

Case 3:04-cV-00150-GD Document 15 Filed 01/10/06 Page 4 of 9

of at least twelve months. 42 U.S.C. §§423(d)(1)(A) and
l382c(a)(3)(A). The impairment or impairments must be so severe
that the claimant "is not only unable to do his previous work but
cannot, considering his age, education and work experience, engage
in any other kind of substantial gainful work which exists in the
national economy ...." 42 U.S.C. §§423(d)(2)(A) and
1382c(a) (3) (B).

The Commissioner has promulgated regulations incorporating a
five-step sequential evaluation process for determining whether a
claimant is under a disability. 20 C.F.R. §§404.1520 and 416.920;
Newell v. Commissioner of Social Securitv, 347 F.3d 541, 545 (3d
Cir. 2003). If the claimant is found disabled or not disabled at
any step, the claim need not be reviewed further. ld.; see
Barnhart v. Thomas, 124 S.Ct. 376 (2003).

The ALJ must determine in sequence: (1) whether the claimant
is currently engaged in substantial gainful activity; (2) if not,
whether she has a severe impairment; (3) if so, whether‘ her
impairment meets or equals the criteria listed in 20 C.F.R. Part
404, Subpart P, Appendix 1; (4) if not, whether the claimant's
impairment prevents her from performing her past-relevant work;
and (5) if so, whether the claimant can perform any other work
which exists in the national economy, in light of her age,
education, work experience, and residual functional capacity. 20

C.F.R. §§404.1520 and 416.920. ee also Newell, 347 F.3d at 545-

 

46.

Additionally, the Commissioner has promulgated regulations

_4_

 

Ao 72A
(Revam2)

 

 

Case 3:04-cV-00150-GD Document 15 Filed 01/10/06 Page 5 of 9

dealing specifically with the evaluation of mental impairments.
20 C.F.R. §§404.1520a and 416.920a. When there is evidence of a
mental impairment that allegedly prevents a claimant from working,
the Commissioner must follow the procedure for evaluating mental
impairments set forth in the regulations. Plummer, 186 F.2d at
432.

Here, plaintiff challenges the ALJ's findings at steps 3l and
52 of the sequential evaluation process. Specifically, plaintiff
contends that: (1) the ALJ improperly analyzed the medical
evidence and failed. to accord. the appropriate weight to the
reports of plaintiff's treating physicians; and, (2) the ALJ
improperly analyzed plaintiff's testimony and subjective
complaints regarding her pain and limitations. Upon review, the
court finds that the ALJ properly evaluated the evidence and that

all of the ALJ's findings are supported by substantial evidence.

 

1 At step 3, the ALJ must determine whether the claimant's
impairment matches, or is equivalent to, one of the listed

impairments. Burnett v. Commissioner of Social Security
Administration, 220 F.3d 112, 119 (3d Cir. 2000). The listings

describe impairments that prevent an adult, regardless of age,
education, or work experience, from performing any gainful
activity. Knepp v. Apfel, 204 F.3d 78, 85 (3d Cir. 2000); 20
C.F.R. §404.1520(d). "If the impairment is equivalent to a listed
impairment then [the claimant] is per se disabled and no further
analysis is necessary." Burnett, 220 F.3d at 119.

2 At step 5, the ALJ must show that there are other jobs
existing in significant numbers in the national economy which the
claimant can perform consistent with her medical impairments, age,
education, past work experience and residual functional capacity.
20 C.F.R. §§404.1520(f) and. 416.920(f). Residual functional
capacity is defined as that which an individual still is able to
do despite the limitations caused by his or her impairments. 20
C.F.R. §§404.1545(a) and 416.945(a); Fargnoli, 247 F.3d at 40.

_5_

 

Ao 72A
(nev.e/a2)

 

Case 3:04-cV-00150-GD Document 15 Filed 01/10/06 Page 6 of 9

Plaintiff's first argument is that the ALJ improperly
evaluated the medical evidence in assessing whether plaintiff met
a listed impairment and in assessing plaintiff's residual
functional capacity.3 Specifically, plaintiff contends that the
ALJ failed to accord the appropriate weight to opinions from her
treating and examining physicians indicating that plaintiff either
met a listed impairment or that plaintiff otherwise could not
work. Upon review the court finds that the ALJ's evaluation of
the medical evidence is supported by substantial evidence.

Under the Social Security Regulations and the law of this
circuit, opinions of treating physicians are entitled to
substantial, and at times even controlling, weight. 20 C.F.R.
§§404.1527(d)(2) and 416.927(d)(2); Fargnoli, 247 F`.3d at 33.
Where a treating physician's opinion on the nature and severity of
an impairment is well supported by medically acceptable clinical
and laboratory diagnostic techniques and is not inconsistent with
other substantial evidence in the record, it will be given
controlling weight. ld. When a treating source's opinion is not
entitled to controlling weight, it is evaluated and weighed under
the same standards applied to all other medical opinions, taking
into account numerous factors including the opinion's

supportability, consistency and specialization. 20 C.F.R.

 

 

 

3 Here the ALJ found that “[Plaintiff's] residual
functional capacity for the full range of light work is reduced by
her need to avoid excessive climbing and balancing, her limited
ability to push and pull with the lower extremities, her need to
avoid excessive temperature extremes and wetness and her
limitation to low stress, concentration and memory jobs.” (R. 21)

_6_

 

Ao 72A
(nev.e/ez)

 

 

 

Case 3:04-cV-00150-GD Document 15 Filed 01/10/06 Page 7 of 9

§§404.l527(d) and 4l6.927(d).

Here, the ALJ adhered to the foregoing standards in
evaluating the medical evidence, both in assessing whether
plaintiff met any listed impairment and as to her residual
functional capacity. (R. 17-20). Based upon his review of the
entire record, including plaintiff's medical records and
plaintiff's own testimony and reported daily activities, the ALJ
concluded that plaintiff's impairments, while severe, do not meet
or equal any' listed. impairment and. do not preclude her from
performing any substantial gainful activity. These findings are
supported by substantial evidence as outlined by the ALJ in his
decision.

Indeed, although plaintiff asserts that the ALJ improperly
weighed the evidence from her treating physicians, plaintiff fails
to point to any specific evidence in those records which even
arguably could support a finding of disability. Moreover, the
court’s own review of plaintiff's treatment records demonstrates
that not one of her treating or examining physicians opined, or
even suggested, that plaintiff was precluded from any gainful
employment.

Plaintiff's final argument is that the ALJ improperly
analyzed plaintiff's credibility. Specifically, plaintiff
contends that the ALJ improperly rejected plaintiff's testimony
regarding limitations in her daily activities arising from her
impairments and instead relied on her sporadic and transitory

activities to negate a finding of disability. After reviewing

_'7_

 

 

Ao 72A
(Rev.a/a2)

 

 

Case 3:04-cV-00150-GD Document 15 Filed 01/10/06 Page 8 of 9

the record, the court finds' that the ALJ` properly' evaluated
plaintiff's subjective complaints in accordance with the
regulations.

Allegations of pain and other subjective symptoms must be
supported by objective medical evidence, 20 C.F.R. §§404.1529(c)
and 416.929(c), and an ALJ may reject a claimant's subjective
testimony if he does not find it credible so long as he explains
why he is rejecting the testimony. Schaudeck v. Commissioner of
Social Security, 181 F.3d 429, 433 (3d Cir. 1999). Here, in
assessing plaintiff's credibility, the ALJ properly considered
plaintiff's subjective complaints, but alsg considered her
allegations in light of the medical evidence, her treatment
history and all the other evidence of record. In doing so, he
found that plaintiff's testimony as to her limitations was
inconsistent with her daily activities as well as with the
objective medical evidence. (R. 19). The court finds no error
ma the ALJ's credibility determination as ix; is supported by
substantial evidence.

While it is true, as plaintiff asserts, that sporadic and
transitory activities cannot be used to show an ability to engage
in substantial gainful activity, see Fargnoli, 247 F.3d at 40,
n.5, the ALJ did not do so here. Rather, in assessing plaintiff's
credibility, the ALJ properly considered not only plaintiff's
reports of her activities of daily living, but alsg considered
plaintiff's allegations in light of the medical evidence, her

treatment history and all of the other evidence of record.

 

AO 72A
(Rev.8/82)

 

 

 

Case 3:04-cV-00150-GD Document 15 Filed 01/10/06 Page 9 of 9

After carefully' and. methodically' considering all of the

medical evidence of record and plaintiff's testimony, the ALJ

determined that plaintiff is not disabled within the meaning of

the Act. The ALJ's findings and conclusions are supported by

substantial evidence and are not otherwise erroneous.

Accordingly, the decision of the Commissioner must be affirmed.

CC:

XL@W

Gustave Diamond
United States District Judge

 

J. Kirk Kling, Esq.
630 Pleasant Valley Boulevard, Suite B
Altoona, PA 16602

John J. Valkovci, Jr.

Assistant U.S. Attorney

319 Washington Street

Room 224, Penn Traffic Building
Johnstown, PA 15901

 

